Case 1:96-cr-00126-JFK Document 826

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA :
~against-
IRVING MASON,
Defendant.
vo ee ee xX

Filed 11/05/20 Page 1of1
| UDC SDNY |
[
i

 

ELECIRON CALLY FILED
loc #:
DATE FLED: We [aga

Ande BA in a

nee petra

 

 

 

 

No. 96 Cr. 126 (JFK)

ORDER

JOHN F. KEENAN, United States District Judge:

The Government is directed to file its response to

Defendant Irving Mason’s motion for compassionate release, (ECF

No. 825), by no later than November 19,

2020. Mason’s reply, if

any, is due by no later than November 30, 2020. Absent further

order, the motion will be considered fully submitted as of that

date.

The Clerk of Court is respectfully directed to

electronically notify the Criminal Division of the U.S.

Attorney’s Office for the Southern District of New York that

this Order has been issued.
SO ORDERED.

Dated: New York, New York

7 Keer de

 

November 5, 2020

John F. Keenan

United States District Judge

 

 
